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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:11CR70
                              )
          v.                  )
                              )
JESUS CADENAS-GERONIMO,       )                         ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s notice

of appeal (Filing No. 61).         The judgment from which defendant

wishes to appeal was filed on September 8, 2011.                Rule 4(b) of

the Rules of Appellate Procedure provides:

                In a criminal case, a defendant’s
                notice of appeal must be filed in
                the district court within 14 days
                after the later of:

                   (i) the entry of either the
                judgment or the order being
                appealed . . . .

          Defendant’s notice of appeal is untimely, and no

certificate of appealability will issue.               Accordingly,

          IT IS ORDERED that defendant’s notice of appeal is

untimely and no certificate of appealability is issued.

          DATED this 6th day of September, 2012.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
